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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

MARK CLARKE and
DAVID CLARKE,

Defendants.                                               No. 08-30170-DRH

                                    ORDER

HERNDON, Chief Judge:

      Pending before the Court is the Government’s January 12, 2012 motion to

continue trial as to Mark Clarke and David Clarke (Doc. 539). The government

moves to continue the trial as Mark Clarke and David Clarke pleaded guilty to an

Information in case 11-CR-30152-DRH and are scheduled to be sentenced on

January 27, 2012 and March 23, 2012, respectively. The motion also states that

after the Court sentences Mark Clarke and David Clarke in 11-CR-30152-DRH, the

government will move to dismiss them as defendants from this case.

      Clearly, the Court finds that under the circumstances a continuance is

warranted. Pursuant to 18 U.S.C. § 3161(h)(3)(A), the Court GRANTS the motion to

continue as to defendants Mark Clarke and David Clarke (Doc. 539). The Court

CONTINUES the jury trial scheduled for March 12, 2012 to Monday, April 23, 2012

at 9:00 a.m.

      As noted in previous Orders, co-defendant Sandra Clarke still remains a

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fugitive and has not been arraigned. Because the Speedy Trial clock does not begin

to run until the last co-defendant is arraigned, the 70-day window for conducting this

trial has not yet come into play under the Speedy Trial Act. See United States v.

Larson, 417 F.3d 741, 745 n.1(7th Cir. 2005)(“In the typical joint trial, the

SpeedyTrial clock begins when the last co-defendant is arraigned.”)(citing United

States v. Baskin-Bey, 45 F.3d 200, 203 (7th Cir. 1995); Henderson v. United States,

476 U.S. 321, 323 n.2 (1986). Thus, there is no need to account for excluded time

due to trial delays, such as when a trial is continued. Further, once Sandra Clarke

is arraigned, the Court will set her case for trial.

             IT IS SO ORDERED.

             Signed this 17th day of January, 2012.                          David R.
                                                                             Herndon
                                                                             2012.01.17
                                                                             15:35:10 -06'00'
                                                        Chief Judge
                                                        United States District Court




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